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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONTANA

                            MISSOULA DIVISION

UNITED STATES OF AMERICA,      )             CR 11-61-M-DLC
                               )
               Plaintiff,      )
                               )
     vs.                       )             ORDER
                               )
JASON WASHINGTON,              )
DARIN MOWER,                   )
GREGORY ZUCKERT,               )
STEVEN SANN,                   )
LISA FLEMING,                  )
JESSE SHEWALTER, and           )
CHRISTOPHER CRONSHAW,          )
                               )
               Defendants.     )
______________________________ )

                                I. Introduction

      This Opinion and Order resolves the many outstanding pretrial motions filed

in this matter by Defendants Jason Washington, Lisa Fleming, and Steven Sann.

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The three are charged, along with four other co-defendants, with offenses related

to the manufacture and distribution of marijuana. Defendant Washington also

faces a gun charge. The charges allege conduct that occurred at least in part in the

context of a medical marijuana dispensary established during the effective period

of the Montana Medical Marijuana Act (“MMMA”), which was passed by voter

initiative in 2004 and superseded by a revised law, known as the Montana

Marijuana Act (“MMA”), in 2011. As the Court has previously stated, it will

assume, for purposes of deciding the pending motions to dismiss only, that the

Defendants’ conduct was in full compliance with the Montana Medical Marijuana

Act and later the Montana Marijuana Act. Despite that assumption in the

Defendants’ favor, nearly all of their motions are denied. The Court takes this

opportunity, prior to undertaking an analysis of the legal merits of each of the

pending motions, to explain in general terms the reasons why it believes the law

compels this outcome.

      Marijuana is a prohibited Schedule I substance under the Controlled

Substances Act, 21 U.S.C. § 801, et seq., a statutory classification that has been in

place since 1970, and persisted throughout the time frame of the events alleged in

the Indictment. Nonetheless, beginning in 2009 various officials in the executive

branch of the United States government made public statements suggesting that it

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is the policy of the federal government to refrain from prosecuting participants in a

state-authorized medical marijuana program, provided those participants acted in

compliance with state law. These statements by federal officials were nebulous,

equivocal, and heavily qualified. However, it is clear that no federal official has

ever stated that the cultivation, sale, or use of medical marijuana is legal under

federal law. Still, when taken in the aggregate, particularly through the filter of

the news media, the words of federal officials were enough to convince those who

were considering entry into the medical marijuana business that they could engage

in that enterprise without fear of federal criminal consequences. They began

cultivating and selling medical marijuana under the assumption that they could

become legitimate providers under state law and not be selectively arrested and

prosecuted under federal law. Regardless of the wisdom of that choice, it is a

choice many Montanans have made.

      That choice has now proven very costly for those providers, including the

Defendants in this case, whose medical marijuana businesses have been raided by

federal agents, and who are now facing federal felony marijuana distribution

charges, many of which carry mandatory minimum sentences of five years or more

in federal prison, notwithstanding the fact that many of these same individuals

have non-existent or minimal criminal histories. While a few have been

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prosecuted by the federal government, thousands of Montanans continue to use

medical marijuana pursuant to a state statutory scheme that was originally

endorsed by 62 percent of Montana voters. Thus, there is a strongly held belief

among those in the medical marijuana community that the federal government has

not treated them fairly. This sense of injustice has been well articulated in the

Defendants’ briefing and oral argument, and the Court understands and

acknowledges their position.

      Legal arguments are not presented and decided in a vacuum, however.

Appeals to the Court’s sense of fairness and equity must be tethered to an

applicable legal theory, and must seek a remedy that the Court is able to provide.

It is against this practical measure that the Defendants’ otherwise compelling

arguments ultimately come up short. The facts simply do not satisfy the elements

of the various theories advanced by the Defendants.

      The Court is not empowered or inclined to second-guess the legitimate

exercise of the prosecutorial discretion vested with the United States Attorney.

And it should be emphasized that the Defendants in this case are not terminally ill

cancer or HIV/AIDS patients using physician-prescribed marijuana for palliative

relief in full compliance with the MMMA or MMA. As near as the Court can tell,

the federal government has been true to its word and not chosen to prosecute

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Montana citizens who fall in that category.

      Nor is this the appropriate venue in which to attempt to revolutionize and

change long-standing federal drug policy as it relates to marijuana. It is the role of

this Court to decide the legal issues presented in this matter without passion or

prejudice. Thus, the decision that follows is what the law requires.

Considerations beyond that are left to the political branches, where they may be

resolved in accordance with the will of the people.

                                  II. Background

      Defendants Jason Washington, Darin Mower, Gregory Zuckert, Steven

Sann, Lisa Fleming, Jesse Shewalter, and Christopher Cronshaw are charged in

Count I of the Indictment with conspiracy to manufacture and distribute more than

100 marijuana plants in violation of 21 U.S.C. §§ 841(a)(1) and 846. Count II

alleges that Defendants Washington and Cronshaw possessed with intent to

distribute more than 100 marijuana plants in violation of 21 U.S.C. § 841(a)(1).

Similar charges of possession with intent to distribute more than 100 marijuana

plants are levied against Defendants Mower and Zuckert in Counts III and IV,

respectively. Count V charges Defendant Washington with possession of a

firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C. §

924(c)(1)(A)(i). The Indictment also includes forfeiture allegations against

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Defendants Sann, Washington, and Mower.

      Each of the marijuana charges carries a five-year mandatory minimum

prison sentence. The firearm charge against Washington carries a five-year

mandatory minimum sentence of imprisonment consecutive to any sentence

imposed on any drug charge. Defendants Mower, Zuckert, Shewalter and

Cronshaw have entered guilty pleas but have not been sentenced. Defendants

Mower and Shewalter pled guilty to lesser charges that do not carry mandatory

minimum sentences. Defendants Cronshaw and Zuckert pled guilty to the Count I

conspiracy in exchange for the government’s promise to dismiss Counts II and IV

against them, respectively.

      The three remaining Defendants have filed dozens of motions, which can be

roughly assigned to one of the following categories: motions to suppress, motions

to dismiss on estoppel grounds, motions to dismiss on constitutional grounds,

motions relating to discovery, motions in limine, and Defendant Sann’s motion to

sever. The parties presented oral argument and extensive evidence in the form of

exhibits and witness testimony in support of their motions during a two-day

hearing held on August 6 and 7, 2012. The Court’s analysis addresses the motions

collectively where possible, and individually where necessary.




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                                    III. Analysis

A.    Motions to suppress evidence obtained through electronic surveillance
      by Defendants Fleming (Doc. No. 153) and Washington (Doc. No. 180)

      The government’s investigation of these Defendants included the use of

electronic surveillance in the form of a wiretap on Defendant Washington’s

cellular telephone. A wiretap is an investigative tactic not generally available to

federal agents. Permission to rely on electronic surveillance may only be obtained

by court order, and requires strict adherence to Title III of the Omnibus Crime

Control and Safe Streets Act of 1968, codified at 18 U.S.C. §§ 2510-2522. United

States v. Kalustian, 529 F.2d 585, 588 (9th Cir. 1976). Among other provisions,

the Title III statutes require that an application for a wiretap demonstrate the

necessity of such surveillance, that the application be reviewed and approved by a

statutorily qualified official within the Department of Justice, and that any

recordings be immediately sealed upon expiration of the order authorizing the

wiretap. The Defendants argue the government failed to meet all three of these

requirements, any one of which, if unsatisfied, is grounds for suppression of all

evidence obtained through or derived from electronic surveillance.

      1.     Necessity

      Every wiretap application must contain “a full and complete statement as to


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whether or not other investigative procedures have been tried and failed or why

they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”

18 U.S.C. § 2518(1)(c). Similarly, the judge to whom a wiretap application is

presented may authorize the interception only upon making a finding that, inter

alia, “normal investigative procedures have been tried and have failed or

reasonably appear to be unlikely to succeed if tried or to be too dangerous.” The

test for measuring compliance with the necessity requirement calls for a two-step

analysis. United States v. Garcia-Villalba, 585 F.3d 1223, 1228 (9th Cir. 2009).

First, the district court must review whether the application contains a “full and

complete statement” of the relevant facts related to the investigation. Id. If the

court finds the application contained a sufficient statement of facts, it must then

review the issuing judge’s finding that the wiretap was necessary. Id. Defendant

Fleming’s argument goes to both steps of the analysis; she contends that the

application omitted important facts, and that if all of the facts had been presented

to the issuing judge the application would have failed to show necessity.

Defendant Washington focuses on the second step, arguing that the application as

presented failed to demonstrate necessity.

             a.    Full and complete statement

      An application for electronic surveillance must state the relevant facts by

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describing the investigative efforts and results with a reasonable degree of “case-

specific detail.” Garcia-Villalba, 585 F.3d at 1228. Boilerplate recital of the

shortcomings inherent in certain common investigative techniques is not enough.

United States v. Blackmon, 273 F.3d 1204, 1210 (9th Cir. 2001).

       The application in this case contains a full and complete statement of the

material facts in reasonable case-specific detail. The supporting affidavit

describes the facts known to the investigating agents and discusses the use of

search warrants, pen registers and trap and trace data, confidential sources,

controlled purchases, physical surveillance, interviews, trash searches, and

financial records. The affidavit explains how each of these techniques was used in

the investigation of the alleged conspiracy, what evidence was derived from each

technique, and the limits of each technique as applied in this case. The affidavit

also explained why some investigative tools, such as undercover agents and grand

jury investigation, were not attempted prior to seeking permission to engage in

electronic surveillance.

       Defendant Fleming lists several facts the she contends were wrongfully

omitted from the wiretap application. See Doc. No. 153 at 19-20.1 She argues the



       1
        Unless unavailable, all citations to documents in the record refer to the page numbers
generated by the Court’s CM/ECF electronic filing system.

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agents neglected to inform the issuing court that they had access to documents

related to the operation of the medical marijuana venture, including state

incorporation records, state and federal tax records, state regulatory filings, patient

lists, and caregiver forms. She claims agents also failed to inform the issuing

court that they could purchase multiple-pound quantities of marijuana from the

Defendants either at dispensaries or through Defendant Washington, that they had

located the personal and business bank accounts of the Defendants, that they were

aware of multiple locations where the Defendants were growing and storing

marijuana, and that they could have obtained a great deal of information by

executing search warrants on the known dispensaries and growing sites associated

with the medical marijuana venture.

      The essence of Fleming’s argument is that because the Defendants were

operating an open and obvious medical marijuana business in violation of federal

law, no further investigation of their activities was called for. This misstates the

scope of the investigation. The facts presented in the affidavit demonstrate that

the agents had legitimate reason to believe that Defendant Washington was

regularly purchasing bulk quantities of marijuana from local sources and suppliers

outside of Montana to provide inventory for sales on the black market and to other

medical marijuana caregivers. Merely apprehending the principals in the medical

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marijuana venture would not have been helpful in accomplishing the broader

objectives of the investigation.

      Moreover, contrary to Defendant Fleming’s assertion, most of these facts

were communicated to the issuing court in the affidavit supporting the wiretap

application. The affidavit discusses financial records and other filings with the

State of Montana, and very clearly explains that the Defendants were operating a

medical marijuana venture and selling out of a storefront in Missoula the location

of which was known to the agents. The affidavit also describes controlled

purchases of marijuana in quantities exceeding those allowed by state law. Agents

obtained at least one search warrant prior to seeking authorization for a wiretap,

and the fruits of that warrant are discussed in detail in the affidavit. The affidavit

further acknowledges that search warrants are an investigative option, but explains

that search warrants would not be useful in achieving the broader goals of the

investigation, including identifying Defendant Washington’s suspected sources of

bulk marijuana.

      The only information that was known to the agents and not included in the

affidavit were the locations of two of Defendant Washington’s alleged marijuana

growing sites, one at the “Wye” near Missoula, Montana and a second site near

Polson, Montana. These omissions were not material, however, because the

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investigation was not focused on the Defendants’ use of local growing sites to

stock their dispensaries. It is clear from the application that the agents were more

concerned about Defendant Washington’s alleged bulk purchases and bulk sales to

other dealers than about the scope of his own grow operation. The execution of

search warrants on the growing facilities would not have led to information on

imports and bulk purchases and sales.

      Having determined that the application contains a full and complete

statement of facts, the Court now turns to the question of whether the facts support

a finding that the wiretap was necessary.

             b.    Was the wiretap necessary?

      Necessity must be evaluated under a common-sense approach. United

States v. Reed, 575 F.3d 900, 909 (9th Cir. 2009). The standard requires the

application to set forth facts showing that normal investigative techniques using a

normal amount of resources have failed to make the case within a reasonable

period of time. United States v. Bennett, 219 F.3d 1117, 1122 (9th Cir. 2000).

Necessity should be viewed in light of the government’s need not just to collect

some evidence, but to develop an effective case, i.e., a case sufficient to secure a

conviction. Reed, 575 F.3d at 909; Garcia-Villalba, 585 F.3d at 1228. While a

wiretap should not be the initial step in an investigation, agents need not have

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exhausted every conceivable traditional alternative in order to obtain a wiretap.

United States v. Forrester, 616 F.3d 929, 944 (9th Cir. 2010). The government is

accorded more leeway when investigating conspiracies, because traditional

techniques are often insufficient to identify all conspirators. Reed, 575 F.3d at

910; Garcia-Villalba, 585 F.3d at 1230.

      The facts presented in this case demonstrate that the issuing court was well

within its discretion to approve the wiretap application. Federal agents did not use

the wiretap as the first step in their investigation, but rather attempted for eight

months to achieve their objectives using ordinary techniques before submitting the

application. Those standard techniques were effective to some degree, but had

proven incapable of identifying suppliers and revealing the manner and means of

supply. The fact that normal techniques might have succeeded to some degree

does not foreclose the necessity of a wiretap, Bennett, 219 F.3d at 1122, and the

affidavit explains why that information alone would be insufficient to identify all

alleged conspirators and sources of supply. Confidential sources either had

limited knowledge (CS1), had lost Defendant Washington’s trust during a botched

controlled buy (CS2), or did not know Washington well enough to get close

(CS3). Washington’s demonstrated knowledge of task force personnel and

vehicles made physical surveillance and undercover agents of little value. Search

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warrants would not have identified all members and might cause them to stop

operating, compromising the investigation. Pen registers yielded limited

information on supply. Financial records and public filings identified some

principals, but were no use in identifying sources of supply and satellite

conspirators.

      These case-specific reasons meet the standard for necessity under Ninth

Circuit precedent, which has upheld a necessity finding where “1) continued

surveillance was not feasible due to [the suspects’] use of countersurveillance; 2)

the use of a search warrant or grand jury proceeding would alert [the suspects] of

an ongoing investigation; 3) informants and undercover agents could not

determine the source of [the] drugs.” Garcia-Villalba, 585 F.3d at 1231 (quoting

United States v. Torres, 908 F.2d 1417, 1422 (9th Cir. 1990)). The same

circumstances are present here.

      The Defendants rely on Blackmon to support their contention that the

government has filed to show necessity, but the facts of Blackmon are readily

distinguishable. To begin, the necessity section of the application in Blackmon

was lifted almost verbatim from a prior wiretap application relating to a different

suspect, and the court found that virtually no new investigation had occurred

between the two applications. 273 F.3d at 1206. The appellate panel also

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identified numerous material misstatements and omissions in the application,

prompting the conclusion that the full and complete statement requirement of 18

U.S.C. § 2518(1)(c) was not met. Id. at 1208-10. After striking the various

misstatements, the Blackmon court reviewed the remaining assertions in the

affidavit, which contained little more than boilerplate discussion of the inherent

limitations of certain investigative procedures, and concluded that the purged

application failed to show necessity. Id. at 1210-11.

      The facts of this case are entirely different. Here, the investigation was

targeted at the these Defendants for several months, and little if any information in

the application was obtained through other investigations. There are no material

misstatements or omissions in the application, and there is extensive discussion of

the methods and progress of the investigation. The Defendants rightly observe

that the affidavit is not entirely free of the sort of boilerplate language that was

rejected in Blackmon. Unlike the application in Blackmon, however, the affidavit

in this case also contains a great deal of case-specific information. “The presence

of conclusory language in the affidavit will not negate a finding of necessity if the

affidavit, as a whole, alleges sufficient facts demonstrating necessity.” Torres,

908 F.2d at 1423.

      The wiretap application contains a full and complete statement of facts

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which support’s the issuing court’s finding of necessity. The motions to suppress

based on failure to comply with the necessity requirement are denied.

      2.     Authorized official

      Each application for a wiretap must identify for the reviewing judge the

Department of Justice official who authorized the application. 18 U.S.C. §

2518(1)(a). The class of individuals who may authorize a wiretap application is

limited by statute; the authorization must come from the Attorney General, or from

certain other high-ranking officials who have been designated by the Attorney

General. 18 U.S.C. § 2516(1). Deputy Assistant Attorneys General in the

Criminal Division are statutorily eligible for designation to authorize wiretap

applications. Id. Current Deputy Assistant Attorneys General in the Criminal

Division have been designated as authorizing officials for wiretap applications

under Department of Justice Standing Order No. 3055-2009, a publicly available

document dated February 26, 2009 and signed by Attorney General Eric Holder.

      A wiretap application that does not identify a qualified authorizing official

within the Department of Justice is insufficient on its face, and any evidence

derived therefrom must be suppressed. 18 U.S.C. § 2518(10)(a)(ii); United States

v. Lomeli, 676 F.3d 734, 741-42 (9th Cir. 2012). Defendant Fleming argues that

the intercepted communications and derivative evidence must be suppressed for

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failure to identify a qualified authorizing official.

      However, the applications in this case contained authorization memoranda

signed by Deputy Assistant Attorneys General in the Criminal Division Jacob

Weinstein and Kenneth Blanco. Doc. Nos. 212-1 & 212-2. Each authorization

memorandum referred to Standing Order No. 3055-2009 by order number and

date, and stated that “the undersigned” is a duly designated official under the

standing order. Id. Fleming relies on Lomeli to argue that the applications are

facially invalid because Standing Order No. 3055-2009 was not attached to the

applications. The argument is unpersuasive.

      Lomeli was a case in which the application did not identify any authorizing

Department of Justice official. The application in Lomeli merely stated that “an

appropriate official of the Criminal Division” had given authorization. 676 F.3d at

737. Here, the authorizing officers were identified by name and had in fact been

duly designated. Nothing in 18 U.S.C. § 2518 requires that the reviewing judge be

provided the document designating the authorizing official, and Fleming has cited

no other authority for such a requirement. It was enough for the authorization

memoranda to refer to the publicly available Standing Order by number and date.

The motion to suppress based on failure to identify an authorized approving

official is denied.

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      3.     Sealing

      Defendant Fleming argues that the wiretap evidence should be suppressed

because the agents failed to arrange for the immediate sealing of the recordings.

Section 2518(8)(a) requires recordings to be made available to the authorizing

judge for sealing “[i]mmediately upon the expiration of the period of the order,”

which has been interpreted to require sealing within one to two days. Reed, 575

F.3d at 913. Any delay in excess of one or two days requires suppression unless

the government explains why the delay occurred and gives a satisfactory

explanation for why the delay is excusable. United States v. Ojeda Rios, 495 U.S.

257, 265 (1990). Multiple causes for delay may be considered together. United

States v. Pedroni, 958 F.2d 262, 266 (9th Cir. 1992). The length of the delay is

not a dispositive factor and delays of up to 118 days have been excused. Id. A

delay is more likely to be excused if the government took proper steps to insure

integrity of the recordings during the delay. United States v. McGuire, 307 F.3d

1192, 1204 (9th Cir. 2002). Potentially satisfactory reasons for delay include

unavailability of the supervising judge, Pedroni, 958 F.2d at 266; shortage of

resources or personnel, id.; or an objectively reasonable belief on the part of the

government that the delay was authorized by law. United States v. Hermanek, 289

F.3d 1076, 1088 (9th Cir. 2002). If the government acts pursuant to a court order

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postponing sealing, reliance on the order weighs heavily in favor of finding the

explanation for the delay satisfactory. McGuire, 307 F.3d at 1204.

      In this case the government failed to comply with the immediate sealing

requirement, but has provided a satisfactory explanation for the four-day delay

between the termination of electronic surveillance on November 18, 2011, and the

issuance of an order sealing the recording on November 22, 2011.

      The intercepted communications were recorded on a server physically

located in Denver, Colorado, at the DEA divisional headquarters for the division

covering Colorado, Wyoming, Montana, and Utah. The wiretap was terminated

on the afternoon of Friday, November 18, 2011. DEA agents then burned the

recordings onto Blu-ray disks and placed the disks in an evidence bag, sealing the

bag and signing it in front of a witness. The evidence bag was then shipped that

afternoon via FedEx to Special Agent Bryan Fillinger, the lead agent in this case,

in Missoula, Montana. The shipment arrived in Missoula on Monday, November

21, 2011. The government filed a motion seeking to appear before the issuing

court for sealing on November 21, 2011, but the approving court issued an order

on that date stating that it was not available to supervise the sealing that day and

directing the government to present the recordings for sealing on November 22,

2011, at which time the approving court entered an order sealing the recordings.

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The recordings were stored in a safe in Special Agent Fillinger’s office from

November 21 to November 22.

      The foregoing facts constitute a satisfactory explanation for the four-day

interval between the termination of electronic surveillance and the sealing of the

recordings by the approving court. The agents shipped the recordings the day the

wiretap ended, and the government was prepared to present them for sealing on

the day they arrived in Missoula. The DEA’s choice to record the communications

to a server at its divisional headquarters in Denver is reasonable, and were it not

for the fact that the shipping occurred over a weekend the recording likely would

have been in Missoula the day after the wiretap was terminated. The approving

court was unavailable on November 21, and the government appropriately relied

on the approving court’s order delaying presentation for sealing until the next day.

The government at all times took appropriate steps to insure the integrity of the

recordings through secure sealing and storage. The delay was brief, it occurred for

satisfactory reasons, and the quality of the electronic evidence was not

jeopardized. The motion to suppress for failure to timely seal the recordings is

denied

B.    Motions to dismiss on estoppel grounds: Defendants Fleming and
      Sann’s motions to dismiss under the doctrine of judicial estoppel (Doc.
      Nos. 150, 155); Defendants Sann and Washington’s motions to dismiss

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      based on estoppel by official misleading (Doc. Nos. 156, 182); Defendant
      Sann’s motion to dismiss based on promissory estoppel (Doc. No. 154)

      All of the pending motions to dismiss on estoppel grounds rely on the

common underlying principle that the federal government, having stated several

times that it would not initiate federal drug prosecutions of sellers or users of

medical marijuana acting in compliance with the laws of their respective states,

should now be estopped from pursuing this federal prosecution in contradiction of

those statements. The most prominent of the federal government’s various

pronouncements on the topic of medical marijuana is what has become known as

the “Ogden memo.”

      Written by Deputy Attorney General David Ogden and issued on October

19, 2009, the Ogden memo purports to “provide[] clarification and guidance to

federal prosecutors in States that have enacted laws authorizing the medical use of

marijuana.” Ogden memo (Doc. No. 196-1 at 1). In the Ogden Memo, the

Department of Justice communicated to its attorneys that certain marijuana users

and providers would be a lower priority for prosecution than others. Id. at 1-2

(“As a general matter, pursuit of [the Department’s] priorities should not focus

federal resources in your States on individuals whose actions are in clear and

unambiguous compliance with existing state laws providing for the medical use of



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marijuana.”). However, the Ogden memo also made clear that medical marijuana

activity that may be authorized under state law remains illegal under federal law:

      The Department of Justice is committed to the enforcement of the
      Controlled Substances Act in all states. This guidance regarding
      resource allocation does not ‘legalize’ marijuana or provide a legal
      defense to a violation of federal law, nor is it intended to create any
      privileges, benefits, or rights, substantive or procedural, enforceable
      by any individual, party, or witness in any administrative, civil, or
      criminal matter. Nor does clear and unambiguous compliance with
      state law. . . create a legal defense to a violation of the Controlled
      Substances Act.

Id. at 2. The Ogden memo did not state that medical marijuana users and

providers would be exempt from prosecution. Id. at 2-3 (“Nor does this guidance

preclude investigation or prosecution, even where there is clear and unambiguous

compliance with existing state laws, in particular circumstances where

investigation or prosecution otherwise serves important federal interests.”).

      As the Court has stated previously, the analysis of these pending motions

proceeds under the assumption that the Defendants in this case acted in

compliance with state law at all times relevant to the conduct charged in the

Indictment.

      1.      Judicial estoppel

      The Defendants seek to invoke the doctrine of judicial estoppel based on the

government’s entry into a stipulation to dismiss a civil case against it in County of

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Santa Cruz v. Holder, No. C 03-1802 JF (N.D. Cal. 2009), a federal district court

case in California. The plaintiffs in Santa Cruz sought to enjoin federal raids and

seizures against suppliers and users of medical marijuana, but stipulated to dismiss

upon the issuance of the Ogden memo. The stipulation was filed pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii) and stated that, “As a result of the issuance of the

[Ogden memo], plaintiffs agree to dismiss this case without prejudice.” Santa

Cruz, No. C 03-1802 JF, Doc. No. 223 at 1. The stipulation further provided that

“if Defendants withdraw, modify, or cease to follow the [Ogden memo], this case

may be reinstituted in its present posture[.]” Id. at 2. The parties filed the signed

stipulation with a blank signature line for the presiding judge, and the same

document was re-filed four days later with the judge’s signature.     Santa Cruz, No.

C 03-1802 JF, Doc. No. 225.

      The Defendants argue that the Department of Justice, having obtained a

stipulation to dismiss the Santa Cruz matter based on the issuance of the Ogden

memo, should be judicially estopped from bringing prosecutions against the

Defendants in this Court because they were lawful medical marijuana suppliers

under Montana law.

      The doctrine of judicial estoppel is intended to protect the integrity of the

judicial process by prohibiting a party from gaining an advantage in litigation by

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one theory and then seeking an inconsistent advantage by later pursuing an

incompatible theory. Hamilton v. State Farm Fire & Cas. Co., 270 F.3d 778, 782

(9th Cir. 2001). Judicial estoppel is an equitable remedy the application of which

is left to the discretion of the district court. Russell v. Rolfs, 893 F.2d 1033, 1037

(9th Cir. 1990). Among the factors to be considered are: 1) whether a party has

taken a position that is clearly inconsistent with its earlier position; 2) whether the

party succeeded in persuading the court to adopt its earlier position; and 3)

whether, in the absence of estoppel, the party seeking to assert an inconsistent

position would “derive an unfair advantage or impose an unfair detriment on the

opposing party[.]” New Hampshire v. Maine, 532 U.S. 742, 750-51 (2001).

       The Defendants’ argument for dismissal under the doctrine of judicial

estoppel based on the events in Santa Cruz was squarely rejected by the court in

Marin Alliance for Medical Marijuana v. Holder, 2011 WL 5914031 (N.D. Cal.

Nov. 28, 2011) (“Marin I”), and a subsequent unreported order dated July 10,

2012, in the same case. Marin, No. C 11-05349 SBA, Doc. No. 52 (“Marin II”).

This Court finds the reasoning in Marin I and Marin II to be persuasive in all

respects.2


       2
         The Court shares the Marin court’s skepticism of the availability of the doctrine of
judicial estoppel against the government, particularly in a case such as this where the government
is pursuing its interest in enforcing the law. Marin I, 2011 WL 5914031 at 8 (citing New

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       None of the three factors articulated by the Supreme Court in New

Hampshire favors the application of judicial estoppel in this case. To begin, there

is no clear inconsistency between the position taken by the government as a civil

defendant in Santa Cruz and the government’s decision to charge the Defendants

in this case with federal drug crimes. The stipulation filed by the parties in Santa

Cruz merely states that the plaintiffs agree to dismiss their case in light of the

Ogden memo, and unambiguously contemplates that the government may

“withdraw, modify, or cease to follow” the Ogden memo at a later date. The

Odgen memo makes clear that the federal government retains the discretion and

authority to prosecute violations of federal laws prohibiting marijuana, and does

not grant any person or class of persons immunity from federal prosecution.

       Defendants argue that the essence of their judicial estoppel case is not in the

Ogden memo itself, but rather in statements made to the Santa Cruz court in a

hearing held on October 30, 2009. The Court has reviewed a transcript of that

hearing, see Doc. No. 294-2, and concludes that the assistant United States

Attorney did not make any statements suggesting that the government’s policy




Hampshire, 532 U.S. at 755, and Heckler v. Cmty. Health Servs., Inc., 467 U.S. 51, 60 (1984)).
However, because the Court finds no basis to invoke the doctrine of judicial estoppel under the
facts of this case, it is unnecessary to resolve the question of the applicability of judicial estoppel
against the United States in this context.

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affords any more protection to people involved with medical marijuana than is

offered in the Ogden memo. To the extent that Defendants rely on statements of

the court during hearings in the Santa Cruz case, that reliance is misplaced. What

matters for purposes of judicial estoppel is what positions the government has

actually taken in prior litigation; the Santa Cruz court’s characterizations of the

government’s positions are irrelevant to this Court’s evaluation of the consistency

of the government’s arguments. The government in Santa Cruz promised to do

nothing more than follow the Ogden memo until it changed its mind. The instant

prosecution is not incompatible with that promise.

       The Defendants have also failed to show that the United States succeeded in

persuading the Court to adopt its position, which is a requirement in the Ninth

Circuit. Hamilton, 270 F.3d at 783 (“This court has restricted the application of

judicial estoppel to cases where the court relied on, or ‘accepted,’ the party’s

previous inconsistent position.”). The parties in Santa Cruz filed their signed Joint

Stipulation of Dismissal Without Prejudice without the court’s signature on

January 21, 2010. Santa Cruz, No. C 03-1802 JF, Doc. No. 223. By its own

terms the stipulation was filed under Fed. R. Civ. P. 41(a)(1)(A)(ii),3 which does


       3
        The stipulation refers to “Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure.”
Santa Cruz, No. C 03-1802 JF, Doc. No. 223 at 1. The Court assumes that the parties
erroneously omitted subparagraph (A) from the citation to Fed. R. Civ. P. 41(a)(1)(A)(ii), which

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not require an order of the court for dismissal to take effect. Thus, while the Santa

Cruz court ultimately re-filed the stipulation with its signature added, there was no

legal effect to doing so. It cannot be said under these circumstances that the

government gained any advantage by persuading the court to adopt its position.

Moreover, assuming the court “accepted” the government’s position, that means

nothing more than that the court accepted the government’s statement that it

agreed to follow the Ogden memo or be subject to the resumption of that civil

litigation.

       Finally, assuming there is some inconsistency between the government’s

positions in Santa Cruz and this case, the Defendants have not demonstrated that

they have suffered any unfair detriment caused by the government’s change in

position. These Defendants were not plaintiffs in the underlying action.

Defendant Sann testified that he became aware of the stipulation to dismiss in

Santa Cruz through news reports while traveling on the West Coast, but conceded

that he has not reviewed any documents in the case. Defendants argue that privity

of the parties has not been deemed a prerequisite to the application of the doctrine

of judicial estoppel in the Ninth Circuit, and while that may be true,4 it does little

applies to stipulations of dismissal signed by all parties.
       4
         But see State of Ariz. v. Shamrock Foods Co., 729 F.2d 1208, 1215 (9th Cir.1984) (“A
plaintiff who has obtained relief from an adversary by asserting and offering proof to support one

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to bolster the argument for judicial estoppel in this case. The Defendants here

were either unaware of the Santa Cruz case or knew of it solely through news

reports, thus standing them in similar stead with every other non-party in the

United States. Courts may be willing, in some instances, to accept something less

than complete privity, but this Court is unwilling to assign a special interest in

litigation to every person who happens to come across a news story about the case.

       These Defendants had no personal stake in the Santa Cruz litigation. To the

extent they made choices based on the stipulation in Santa Cruz (and there is

nothing in the record to suggest they did), those choices were well beyond the

contemplation of the parties and court in that case.

       Even if they could establish equal footing with the plaintiffs in Santa Cruz,

the Defendants would fare no better in showing that they have been unfairly

disadvantaged by being charged under federal law. The stipulation in Santa Cruz

explicitly left open for the government the option of abandoning the policy set

forth in the Ogden memo, and prescribed that the only remedy available to the

plaintiffs is the revival of their civil complaint. Thus, not even the plaintiffs in

Santa Cruz have any basis to believe they are immune from federal prosecution.


position may not be heard later in the same court to contradict himself in an effort to establish
against the same adversary a second claim inconsistent with his earlier contention.”) (emphasis
added) (internal quotation marks omitted).

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And contrary to Defendant Sann’s assertion, the stipulation in Santa Cruz did not

require the government to provide notice of any kind before taking action

inconsistent with the Ogden memo.

      The doctrine of judicial estoppel is intended to “protect the integrity of the

judicial process” by preventing litigants from “playing fast and loose with the

courts.” Russell, 893 F.2d at 1037 (internal quotation marks, citations omitted).

As the application of the relevant considerations reveals, that is not what the

government has done here. The facts do not support the Court’s exercise of its

discretion to invoke the equitable doctrine of judicial estoppel, and the

Defendants’ motions to dismiss on that basis are denied.

      2.     Estoppel by official misleading statement

      Estoppel by official misleading statement is also referred to in the Ninth

Circuit as entrapment by estoppel. United States v. Batterjee, 361 F.3d 1210, 1216

n.6 (9th Cir. 2004). It applies where the defendant had a “reasonable belief that

his conduct was sanctioned by the government.” United States v. Burrows, 36

F.3d 875, 882 (9th Cir. 1994). The defense requires the accused to show that “(1)

an authorized government official, empowered to render the claimed erroneous

advice, (2) who has been made aware of all the relevant historical facts, (3)

affirmatively told him the proscribed conduct was permissible, (4) that he relied on

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the false information, and (5) that his reliance was reasonable.” Batterjee, 316

F.3d at 1216 (citations, internal quotation marks omitted).

      The Defendants assert the defense of estoppel by official misleading

statement based on the Ogden memo; statements made to the press or to Congress

by then-presidential-candidate Barack Obama, his campaign spokesman, his White

House spokesman, and United States Attorney General Eric Holder; the

characterizations of those statements in news media; the government’s entry into

the stipulation in Santa Cruz; and statements made to at least one Defendant by

Flathead Tribal Police drug investigator Arlen Auld. None of these statements

justifies dismissal on a theory of estoppel by official misleading statement.

             a.    Odgen memo

      Prior rulings in similar cases in this District have held that the defenses of

estoppel by official misleading statement or entrapment by estoppel are not

available as they relate to the Ogden memo. United States v. Janetski, CR

11-37-M-DWM, Doc. No. 45 at 6 (D. Mont. Sept. 1, 2011); Montana Caregivers

Ass’n, LLC v. United States, 841 F. Supp. 2d 1147, 1148-49 (D. Mont. 2012).

The Ogden memo fails to satisfy most of the elements set out in Batterjee, but it is

most obviously inconsistent with the third element, which requires a showing that

an authorized official affirmatively advised the accused that proscribed conduct is

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permissible. Judge Molloy explained why in Janetski:

      An entrapment by estoppel defense requires, among other things, an
      affirmative statement by an authorized official that the defendant’s
      conduct was lawful under federal law. See Ramirez-Valencia, 202
      F.3d at 1109 (finding defendant’s reliance on an INS Form could not
      support the defense because the form “did not expressly tell [him] that
      [his conduct] was lawful”). The Ogden Memo only provides a
      prosecution policy and in no way indicates that Janetski’s conduct
      was permissible under federal law. To the contrary, the Memo
      explains that its “guidance regarding resource allocation does not
      ‘legalize’ marijuana or provide a legal defense.” Ogden Memo at 2.
      Moreover, the Memo explains that nothing in it precludes
      investigation or prosecution, “even when there is clear and
      unambiguous compliance with existing state law.” Id. at 3. Because
      the Ogden Memo does not provide a statement that Janetski’s charged
      conduct was permissible under federal law, it cannot, as a matter of
      law, support an entrapment by estoppel defense.

Janetski, CR 11-37-M-DWM, Doc. No. 45 at 5-6.

      The Ogden memo does not support dismissal based on estoppel by official

misleading or entrapment by estoppel, and the Defendants may not rely on the

Ogden memo for such a defense at trial. See United States v. Schafer, 625 F.3d

629, 637 (“A district court may preclude evidence of a particular defense if the

defendant fails to make a prima facie showing that he is eligible for the defense.”).

             b.    Newspaper articles and press releases

      The Defendants cannot claim to have reasonably relied on any statements

made by journalists or authors of press releases. Such individuals are not



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“authorized government official[s], empowered to render the claimed erroneous

advice” as required by Batterjee. 316 F.3d at 1216. Moreover, when it comes to

assessing the risk that one’s conduct might violate federal criminal law, it is

perilous and unreasonable for any person to rely on press accounts given the risk

of inaccuracy and overstatement. (For example, consider these headlines:

Americans for Safe Access, press release, U.S. Supreme Court: State Medical

Marijuana Laws Not Preempted by Federal Law (Dec. 1, 2008), Doc. No. 183-1 at

13; M. Alex Johnson, DEA to Halt Medical Marijuana Raids, MSNBC.com (Feb.

27, 2009), id. at 17; David Johnston and Neil A. Lewis, Obama Administration to

Stop Raids on Medical Marijuana Dispensers, New York Times (March 19,

2009), id. at 20; Josh Meyer and Scott Glover, Medical Marijuana Dispensaries

Will No Longer be Prosecuted, U.S. Attorney General Says, Los Angeles Times

(Mar. 19, 2009), id. at 25; Tristan Scott, Feds Won’t Arrest Medical Marijuana

Patients, Suppliers in Montana, 13 Other States, Missoulian (Oct. 20, 2009), id. at

30.) Nor are newspapers’ interpretations of official statements entitled to

deference; an official may be misquoted, quoted out of context, or misinterpreted.

Thus, the news articles cited by Defendants do not provide support for a defense

of entrapment by estoppel or estoppel by official misleading.




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             c.    Santa Cruz

      It has been established in Part III.B.1 of this Order that by entering into a

stipulation to resolve the Santa Cruz case, the United States made no guarantees

outside of those contained in the Ogden memo. Nothing that occurred in Santa

Cruz can be plausibly construed as a statement affirmatively telling these

Defendants that federal law allows them to grow and sell marijuana. Because the

Ogden memo does not give rise to a defense of estoppel by official misleading, the

government’s position in Santa Cruz is also insufficient to support such a defense.

             d.    Policy statements by campaign and administration officials

      Defendants claim they relied on statements made during the 2008

presidential campaign by then-Senator Barack Obama and his campaign

spokesman, as well as on statements made by President Obama’s White House

spokesman and Attorney General Eric Holder. As is noted above, to the extent

that the statements are merely paraphrased in media reports, those reports are not

statements of government officials as required for the defense of entrapment by

estoppel or official misleading.

      The remaining statements describe the campaign’s or administration’s

policy position on the prioritization of marijuana enforcement under federal law.

The Oregon Mail Tribune quoted then-presidential-candidate Senator Obama as

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stating: “I'm not going to be using Justice Department resources to try to

circumvent state laws on this issue.” Doc. No. 183-1 at 7. The San Francisco

Chronicle quoted his campaign spokesman as stating: “Obama supports the rights

of states and local governments to make this choice—though he believes medical

marijuana should be subject to [United States Food and Drug Administration]

regulation like other drugs.” Id. at 10.

      After President Obama took office, his White House spokesman Nick

Shapiro was quoted in the Washington Times responding to DEA raids of medical

marijuana collectives in California: “The President believes that federal resources

should not be used to circumvent state laws, and as he continues to appoint senior

leadership to fill out the ranks of the federal government, he expects them to

review their policies with that in mind.” Doc. No. 183-1 at 15. Cable news

network MSNBC reported on its website that Attorney General Eric Holder stated

at a press conference that “[w]hat the president said during the campaign . . . will

be consistent with what we will be doing here in law enforcement . . . . What

[Obama] said during the campaign . . . is now American policy.” Id. at 17.

      Defendants point to additional statements made by Attorney General Holder

and other Justice Department officials to the press and Congress in the wake of the

Ogden memo. For example, the Attorney General is quoted as saying:

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      The policy is to go after those people who violate both federal and
      state law, to the extent that people do that and try to use medical
      marijuana laws as a shield for activity that is not designed to comport
      with what the intention was of the state law. . . . Those are the
      organizations, the people, that we will target. And that is consistent
      with what the president said during the campaign.

Meyer & Glover, Los Angeles Times, Doc. No. 183-1 at 27. The same article

quotes another Justice Department official stating, “If you are operating a medical

marijuana clinic that is actually a front, we’ll come after you. . . . But if you are

operating within the law, we are not going to prioritize our resources to go after

them.” Id. At times, Attorney General Holder clearly stated that prosecutions of

people acting in compliance with state law would be deprioritized. In other

instances, he made broader statements that suggested more than mere

deprioritization. See, e.g., id. at 35 (“[W]e will not use federal resources to target

medical marijuana patients or their providers.”).

      These statements fail to support a defense of estoppel by official misleading

for several reasons. First, the variation in the content of the statements would

have put a reasonable person on notice to make further inquiries. United States v.

Lansing, 424 F.2d 225, 227 (9th Cir. 1970) (requiring a defendant to show “that

his reliance on the misleading information was reasonable—in the sense that a

person sincerely desirous of obeying the law would have accepted the information



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as true, and would not have been put on notice to make further inquiries”). The

Ogden memo was the official, written statement of the administration’s policy. As

already held, no reasonable person would conclude from that document that he

had immunity against federal prosecution for the distribution of marijuana for

medical purposes. The fifth element of the Batterjee test is therefore unmet.

      The public statements by federal officials also fail to satisfy the second

element of the Batterjee test. There is nothing in the record to suggest that the

quoted officials had any knowledge whatsoever of the Defendants’ contemplated

course of action, and thus it cannot be said that any federal official was fully aware

of the relevant historical facts.

      Nor do the statements Defendants claim to have relied on meet the third

element of Batterjee. The Defendants point to no incident where a government

official affirmatively stated or strongly implied that distribution of medical

marijuana is lawful. Instead, Defendants argue that they need not identify an

authorized official’s affirmative statement that the conduct in question is legal; it

is sufficient, they contend, for an authorized official state merely that the conduct

will not result in prosecution.

      The case law is contrary to the Defendants’ position. In Raley v. Ohio, 360

U.S. 423 (1959), four witnesses were convicted in a contempt prosecution for

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failure to answer certain questions before their state legislature’s “Un-American

Activities Commission.” Id. at 424. The United States Supreme Court reversed

the convictions based upon its finding that the commission had misled the witness

by advising them that they had a right to rely on a privilege against self-

incrimination that did not in fact exist under Ohio law. Three of the witnesses

were affirmatively told by commission members that the privilege was available to

them. Id. at 426-27, 429 (quoting the commission’s chairman stating, “I should

like to advise you under the Fifth Amendment, you are permitted to refuse to

answer questions that might tend to incriminate you.”). It was strongly implied to

the fourth person that the privilege existed as well. Id. at 430. The Ohio Supreme

Court upheld the convictions on the grounds that under Ohio’s immunity statute,

the protections of the privilege were not legally available to a person testifying

before a legislative committee. Id. at 431. The Supreme Court reversed, holding

that to do otherwise would “sanction an indefensible sort of entrapment by the

State—convicting a citizen for exercising a privilege which the State had clearly

told him was available to him.” Id. at 425–26.

      The Supreme Court reached a similar conclusion in Cox v. Louisiana, 379

U.S. 559 (1965). In that case a police chief and had affirmatively granted a group

of demonstrators permission to protest across the street from a courthouse. Id. at

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571. A demonstrator was later convicted of violating a statute that prohibited

protesting “near” the courthouse. Id. at 560. The Supreme Court reversed,

holding that a demonstrator, having been supplied with the police chief’s “on-the-

spot administrative interpretation” of the statute, “would justifiabl[y] tend to rely

on this administrative interpretation of how ‘near’ the courthouse a particular

demonstration might take place.” Id. at 568-69. In explaining its ruling, the Court

observed that the appellant had been effectively advised that a protest in that

location “would not be one ‘near’ the courthouse within the terms of the statute.”

Id. at 571. As in Raley, the “[a]ppellant was led to believe that his [conduct]

violated no statute.” Id. at 572 (emphasis added).

      In both Raley and Cox, state actors affirmatively told the defendants, or at

least strongly implied, that a specific, individually contemplated course of conduct

was lawful. The officials did not merely suggest they would not prosecute the

defendants if they broke the law, or that their prosecution would be

“deprioritized.” Rather, the state actors made affirmative, “actively misleading”

statements directly to the defendants that the law permitted them to assert a

specific privilege or to protest in a specific place. Raley, 360 U.S. at 438; Cox,

379 U.S. at 571.

      Even if statements about the deprioritization of medical marijuana

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enforcement and prosecution could constitute the basis for the defense of estoppel

by official misleading, the Defendants cite no case law, and the Court finds none,

in which a person justifiably relied on an official’s comments to a third party. A

direct, targeted statement to a discrete person or group of people appears to be

required. See, e.g., Batterjee, 361 F.3d at 1214 (federal firearms licensee

erroneously told defendant, a non-immigrant alien, he could purchase a firearm);

United States v. Tallmadge, 829 F.2d 767, 770 (9th Cir.1987) (federal firearms

licensee incorrectly told defendant “there was no problem owning a gun” because

his felony conviction had been reduced to a misdemeanor); Raley, 360 U.S. at

426–27 (commission members told defendants the privilege against

self-incrimination was available to them); Cox, 379 U.S. at 571 (law enforcement

officer told defendant he could demonstrate across the street from the

courthouse).5 The Ogden memo was directed to government attorneys. The



       5
         Defendant Sann argues that the public statements by federal officials amount to a
conditional public promise that is enforceable under Carlill v. Carbolic Smoke Ball Co., 1 Q.B.
256 (Court of Appeal, 1892), and its progeny. The cases cited by Sann all involve conditional
promises to pay rewards or award prizes if any person successfully performs a certain act. See,
e.g., Grove v. Charbonneau Buick-Pontiac, Inc., 240 N.W. 2d 853, 855 (N.D. 1976) (auto dealer
promised a new car to first entrant to shoot hole-in-one at a golf tournament). None of the cases
cited arise in the criminal context, and for good reason. If such a contract exists here, it looks
like this: medical marijuana sellers agree to violate the federal law, and in return federal officials
promise that the sellers will not be prosecuted. This Court will not be the first to expand the
conditional public promise concept into the criminal arena, where the only “reward” offered is
immunity from the enforcement of the criminal law.

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Obama administration’s comments concerning the Ogden memo policy were made

to the press and Congress. The officials did not affirmatively tell the Defendants

that their specific conduct was legal.

      Accordingly, the varying statements from Obama Administration officials

concerning the federal policy on enforcing and prosecuting marijuana laws as they

relate to medical marijuana cannot form the basis for the defense of entrapment by

estoppel or estoppel by official misleading.

             e.    Statements by Officer Auld

      Arlen Auld is a drug investigator with the Flathead Tribal Police. Officer

Auld testified at the hearing on these motions. He described an encounter he had

with Defendant Washington and others at a medical marijuana growing site near

Polson, Montana, in the fall of 2010 or 2011. Officer Auld–who at the time was a

member of the Northwest Drug Task Force–received a call from a member of the

High Intensity Drug Trafficking Area Task Force (“HIDTA”) in Missoula asking

Auld to identify the location of a growing operation. Officer Auld visited the

building that housed the operation and met with Defendant Washington and

several others, including Washington’s attorney at the time. Officer Auld was

offered an opportunity to count the plants and inspect records, and upon leaving

the growing facility he indicated to Defendant Washington and the others that

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“everything looks okay” with respect to the operation. Officer Auld may have also

reported back to the Missoula HIDTA that the operation appeared to be in

compliance with state law.

      Although this statement by Officer Auld is not enough to warrant dismissal

of the Indictment on a theory of estoppel by official misleading, the Court

nevertheless believes that Officer Auld’s involvement presents a question for the

jury to resolve in this case. Officer Auld was unable to recall the precise details of

his visit to the growing facility, and he did not know the same of the agent who

asked him to locate the facility. He was also unsure of the year in which the

incident occurred. Moreover, Officer Auld testified that he has never been sworn

or cross-deputized as a federal agent. But again, while these circumstances do not

warrant outright dismissal of the Indictment, there are enough uncertainties with

respect to Officer Auld’s visit to the Polson growing facility that the Defendants

are entitled to the opportunity at trial to attempt to prove estoppel by official

misleading with respect to Officer Auld’s statements only. Having failed to make

a prima facie showing with respect to any other statements, the Defendants will

not be permitted to attempt to establish estoppel by official misleading at trial

based on any statements by any official other than Officer Auld. Schafer, 625

F.3d at 637.

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      3.     Promissory estoppel

      Relying again on the Ogden memo, statements by Attorney General Holder

and others, and the stipulation in Santa Cruz, the Defendants argue that the

Indictment should be dismissed based on the doctrine of promissory estoppel.

Defendants cite no Ninth Circuit authority affirming the availability of promissory

estoppel as a defense to criminal charges, but other circuits have entertained

promissory estoppel theories in considering the enforceability of agreements made

in criminal cases. See, e.g., Cooper v. United States, 594 F.2d 12, 16 (4th Cir.

1979) (considering defendant’s promissory estoppel argument in the context of a

plea agreement); United States v. Weaver, 905 F.2d 1466, 1474 (11th Cir. 1990)

(discussing promissory estoppel in relation to an immunity agreement).

      Under the Ninth Circuit's civil promissory estoppel standard the promisee

must show: “(1) the existence of a promise, (2) which the promisor reasonably

should have expected to induce the promisee’s reliance, (3) which actually induces

such reliance, (4) that such reliance is reasonable, and (5) that injustice can only

be avoided by enforcement of the promise.” Aguilar v. Intl. Longshoremen's

Union Loc. No. 10, 966 F.2d 443, 445 (9th Cir.1992). The promise must be “clear

and unambiguous.” Id. at 446

      These elements are not met here. The Ogden memo and public statements

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by federal officials are not promises, much less clear and unambiguous ones. The

Ogden memo clearly stated it did not authorize medical marijuana activity. The

other public statements were not promises but rather statements of “principle and

intent in the political realm,” Berg v. Obama, 574 F.Supp.2d 509, 529 (E.D.Pa.

2008), which were “vague, general, [and] of indeterminate application.” Hass v.

Darigold Dairy Prods. Co., 751 F.2d 1096, 1100 (9th Cir. 1985); see also Aguilar,

966 F.2d at 446 (“Even if possible inferences might be drawn from the

representations... [that] does not transform them into an enforceable promise.”).

Nor were any statements made specifically to these Defendants; they have not

alleged that any official promised them they would not be prosecuted for violating

federal laws, and thus any reliance on the statements was unreasonable. This is

particularly true given the contrary will of Congress as exemplified in the

Controlled Substances Act. Simply stated, Congress defines the offenses and the

Attorney General has broad discretion in enforcing the law. Bordenkircher v.

Hayes, 434 U.S. 357, 364 (1978).

      The cases Defendants cite involve bilateral contracts such as plea

agreements and immunity agreements, not general public statements intended for

no particular listener or reader. See, e.g, United States v. Chiu, 109 F.3d 624 (9th

Cir. 1997) (proffer agreement); United States v. Anderson, 970 F.2d 602, 606 (9th

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Cir.1992), as amended, 990 F.2d 1163 (1993) (plea agreement); United States v.

Plummer, 941 F.2d 799, 803 (9th Cir.1991) (informal, written immunity

agreement). The Defendants have not claimed any such agreement exists in this

case. The doctrine of promissory estoppel does not preclude the federal

government from enforcing its laws in this case, and the motion to dismiss on that

basis is denied.

C.    Defendant Fleming’s motions to dismiss under the Fifth and Tenth
      Amendments (Doc. No. 150, 152)

      1.     Tenth Amendment

      Defendant Fleming argues that the Indictment should be dismissed because

the charges against her violate her rights under Tenth Amendment of the United

States Constitution. The Tenth Amendment provides, “The powers not delegated

to the United States by the Constitution, nor prohibited by it to the States, are

reserved to the States respectively, or to the people.” U.S. CONST. amend. X.

Among the powers historically accorded to the states are the police powers to

enact laws regarding of health, safety, and welfare of the population. Medtronic,

Inc. v. Lohr, 518 U.S. 470, 475 (1996). Police powers are not, however, an

exclusive domain of the states. Under the Constitution’s Supremacy Clause, U.S.

CONST. art. VI, cl. 2, federal legislation enacted pursuant to constitutionally



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derived federal authority trumps a conflicting state law, even if the state law

furthers a core police power interest. Gonzalez v. Raich, 545 U.S. 1, 29 (2005)

(“The Supremacy Clause unambiguously provides that if there is any conflict

between federal and state law, federal law shall prevail.”).

      In Raich, the United States Supreme Court held that regulation of even

locally grown and consumed marijuana is a permissible exercise of Congress’

power to regulate interstate commerce. 545 U.S. at 9. Accordingly, under the

Supremacy Clause of the Constitution there is no viable Tenth Amendment claim

based on federal prosecution of marijuana distribution activity that is legal under

state law. Raich v. Gonzalez, 500 F.3d 850, 867 (9th Cir. 2007) (“Raich II”);

Montana Caregivers, 841 F.Supp.2d at 1150.

      Defendant Fleming argues that these authorities do not preclude her Tenth

Amendment claim because her motion to dismiss relied on the line of cases within

Tenth Amendment jurisprudence prohibiting federal “commandeering” of the

states. These cases hold that Congress may not “commandeer the legislative

processes of the States by directly compelling them to enact and enforce a

regulatory program.” New York v. United States, 505 U.S. 144, 161 (quoting

Hodel v. Virginia Surface Mining & Reclamation Ass’n, Inc., 452 U.S. 264, 288

(1981)). Nor may it issue directives requiring states to address problems, or

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command state officials to administer or enforce a federal regulatory program.

Printz v. United States, 521 U.S. 898, 935 (1997). The federal government may,

however, attempt to encourage or influence a state to adopt a certain policy,

provided there is no outright coercion and the state retains the ultimate choice as

to what its policy is. New York, 505 U.S. at 166-68.

      The federal government’s actions in enforcing its criminal law regarding the

distribution of marijuana—a law that was in place long before Montana adopted

its policy permitting the distribution of marijuana for medicinal purposes—do not

meet the Supreme Court’s definition of commandeering. The federal government

has not required the state of Montana to enact a regulatory program and has not

directed state employees to assist in the enforcement of any such federal measure.

Fleming has offered no support, either in her submission to the Court or at the

hearing on these motions, for her contention that state officials in Montana have

been threatened with federal prosecution for voting for or implementing the state

medical marijuana law. The voters of Montana continue to retain the ultimate

authority to set their state’s policy through their elected representatives, as is

evidenced by the continued decriminalization of medical marijuana under the




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Montana Marijuana Act.6

       In Raich II, the Ninth Circuit cast doubt on the viability of an attack against

federal marijuana laws under the commandeering line of cases, explaining that the

Controlled Substances Act applies to private individuals and does not require the

state to enact any law or require state officials to enforce federal law. 500 F.3d at

867 n.17. Defendant Fleming relies on the concurrence in Conant v. Walters, 309

F.3d 629, 645-47 (9th Cir. 2002), in which Judge Kozinski concluded that it

would be impermissible commandeering for the DEA to revoke the federal

prescription license of any doctor who wrote a medical marijuana prescription

under California’s state law. Judge Kozinski’s concurrence was not the ruling in

the case, and it pre-dated Raich and Raich II. That the concurrence was issued

before the Raich cases is an important detail, as the concurrence was based in part

on Judge Kozinski’s determination, later controverted by the Supreme Court in

Raich, that “[m]edical marijuana, when grown locally for personal consumption,

does not have any direct or obvious effect on interstate commerce.” Conant, 309

F.3d at 647.

       6
         According to the Montana Department of Public Health and Human Services, there were
8,844 registered patients, 399 registered providers, and 224 registered physicians in the state as
of July 31, 2012. Montana Marijuana Program July 2012 Registry Information, mt.gov,
http://www.dphhs.mt.gov/ marijuanaprogram/mmpregistryinformation.pdf (last visited August
20, 2012).


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      The facts do not support the conclusion that the federal government has

engaged in impermissible commandeering in this case, and the motion to dismiss

on that basis is denied.

      2.     Fifth Amendment

      Defendant Fleming argues the charges against her should be dismissed

because the federal government’s decision to list medical marijuana as a Schedule

I controlled substance violates her right to equal protection under the Fifth

Amendment of the United States Constitution.

      The standard to be applied in assessing an equal protection challenge

depends on the nature of the classification at issue. Those statutes that infringe

upon a fundamental right or discriminate based on a suspect classification are

reviewed with strict scrutiny, and will be upheld only where the law in question

serves a compelling government interest. San Antonio Independent School Dist.

v. Rodriguez, 411 U.S. 1, 29 (1973); Grutter v. Bollinger, 539 U.S. 306, 326

(2003). Where the law does not make a suspect classification or infringe upon a

fundamental right, the rational basis test applies, and the challenged law will be

upheld “if the classification itself is rationally related to a legitimate governmental

interest.” Dept. of Agriculture v. Moreno, 413 U.S. 528, 533 (1973). Defendant

Fleming argues that in light of the evolving public attitudes favoring greater legal

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access to marijuana for medicinal purposes and scientific studies discussing the

medicinal benefits of marijuana and its lack of addictive properties, the

designation of medical marijuana as a Schedule I controlled substance is not

rationally related to any legitimate federal interest.

      In Raich II, the Ninth Circuit explicitly rejected the existence of a

fundamental right to use medical marijuana. 500 F.3d at 866. Accordingly,

Fleming’s challenge is subject to a rational basis review, which is highly

deferential. Kahawaiolaa v. Norton, 386 F.3d 1271, 1279 (9th Cir. 2004). The

law will be upheld if there is a rational relationship between the classification of

marijuana and some legitimate governmental purpose. Moreno, 413 U.S. at 533.

As the person challenging the constitutionality of the treatment of marijuana under

the Controlled Substances Act, Defendant Fleming bears the burden of negating

“every conceivable basis which might support it.” Kahawaiolaa, 386 F.3d at 1280

(quoting Heller v. Doe, 509 U.S. 312, 320 (1993)). The law will be upheld if there

is a plausible policy reason for the classification, the facts considered by the

policymaker were rationally considered to be true, and the relationship between

the classification and the policy goal is not so attenuated as to render the

classification arbitrary or irrational. Nordlinger v. Hahn, 505 U.S. 1, 11-12

(1992).

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      Applicable Ninth Circuit precedent forecloses Defendant Fleming’s equal

protection challenge, and indeed she “concedes the lack of current controlling case

law in support of her argument[.]” Doc. No. 229 at 4. The Ninth Circuit squarely

rejected a rational basis challenge to the classification of marijuana as a schedule I

substance in Miroyan v. McGinnis, 577 F.2d 489, 495 (9th Cir. 1978). Although

Fleming argues that since Miroyan, additional studies and changes in state law

have called into question the rationality of Congress’ policy, there remains

sufficient debate regarding the public benefits and potential for harmful

consequences of marijuana use to find a rational basis to uphold the continued

classification of marijuana as a schedule I controlled substance. As the court

observed in Raich II, “federal law is blind to the wisdom of a future day when the

right to use medical marijuana to alleviate excruciating pain may be deemed

fundamental.” 500 F.3d at 866. And while “that day may be upon us sooner than

expected,” id., Defendant Fleming has not carried her heavy burden to convince

this Court to announce its arrival in this case. The motion to dismiss for violation

of Defendant Fleming’s Fifth Amendment right to equal protection is denied.

D.    Discovery motions: Defendant Fleming’s motion for revelation and
      production of confidential source who made controlled buys from Jason
      Washington, and examination of the source in an in camera hearing
      (Doc. No. 139); Defendant Sann’s motion for an order directing the
      prosecutor to inspect investigative files for exculpatory information and

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      motion for an order directing the prosecutor to give notice of and make
      available for copying exculpatory or favorable information on or before
      July 27, 2012 (Doc. Nos. 157, 160)

      1.     Confidential source

      The affidavit filed in support of the wiretap application in this case

describes two controlled purchases of marijuana from Defendant Washington by a

government informant referred to as “Confidential Source #2.” The informant

arranged for a third controlled purchase, but according to the affidavit the deal was

aborted when Defendant Washington observed the vehicle of a HIDTA task force

detective nearby. Defendant Fleming now moves for the revelation of the

informant’s identity and requests an opportunity to question the informant, or, in

the alternative, for the Court to question the informant in camera. Defendant

Fleming expects that the informant will testify to Fleming’s lack of involvement in

any criminal activity. The United States opposes the motion, states that it will

reveal the informant’s identity, along with any potential impeachment information,

after the September 7, 2012, plea agreement deadline.

      Under Roviaro v. United States, 353 U.S. 53, 59 (1957), the government has

a limited privilege to refuse to disclose identity of an informant. The defendant

has the burden to show need for disclosure. United States v. Williams, 898 F.2d

1400, 1402 (9th Cir. 1990). Disclosure is required only where it would be relevant

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and helpful to the defense or essential to a fair determination of the cause.

Roviaro, 353 U.S. at 60-61. In assessing a motion for disclosure of an informant’s

identity the court must balance the following considerations: “(1) the degree to

which the informant was involved in the criminal activity; (2) how helpful the

informant's testimony would be to the defendant; [and] (3) government's interest in

non-disclosure.” United States v. Gil, 58 F.3d 1414, 1421 (9th Cir. 1995). A

district court is required to hold an in camera hearing upon a “minimal threshold

showing” that the informant's information “may be relevant and helpful to a

possible defense at trial,” United States v. Spires, 3 F.3d 1234, 1238-39 (9th Cir.

1993), but mere speculation that disclosure will be helpful is not enough. United

States v. Trejo-Zambrano, 582 F.2d 460, 466 (9th Cir. 1978).

      Defendant Fleming’s motion for revelation fails because her argument is

purely speculative. She notes that the discovery shows the confidential source

claimed to be a friend of Defendant Washington and that the informant never

mentioned her. From there Defendant Fleming assumes that informant would

testify that she did not enter a conspiracy, that she behaved professionally at all

times, that she is a hard-working and non-violent person, and that she believed

that her actions were legal. There is no basis to conclude the informant knows

anything at all about Fleming or her mental state at the time of the charged

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conduct. Because Fleming has not shown the informant’s information will be

helpful, she has not met her burden under Roviaro and her motion will be denied.

      However, the government shall reveal the informant’s identity, along with

any potential impeachment information, on or before September 14, 2012, which

is one week following the September 7, 2012, plea agreement deadline.

      2.     Exculpatory information

      Under Brady v. Maryland, the prosecution must disclose to the defense any

evidence in the government’s possession that is favorable to the accused and

material to either guilt or punishment. 373 U.S. 83, 87 (1963). Brady places an

affirmative duty on the prosecutor to seek out information in the government’s

possession that is favorable to the defendant. Kyles v. Whitley, 514 U.S. 419, 437

(1995). The government’s failure to disclose favorable information to the defense

will rise to the level of a constitutional violation under Brady only if the following

three elements are satisfied:

      (1)    the evidence at issue must be favorable to the accused, either
             because it is exculpatory, or because it is impeaching;

      (2)    that evidence must have been suppressed by the prosecution,
             either willingly or inadvertently; and

      (3)    prejudice must have ensued.

Strickler v. Greene, 527 U.S. 263, 281-82 (1999).

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      The prejudice prong requires that the evidence suppressed be material.

Kyles, 514 U.S. 419; United States v. Bagley, 473 U.S. 667 (1985). Evidence is

material under Brady if there is a reasonable probability that, had the evidence

been disclosed to the defense, the result of the proceeding would have been

different. “The question is not whether the defendant would more likely than not

have received a different verdict with the evidence, but whether in its absence he

received a fair trial, understood as a trial resulting in a verdict worthy of

confidence.” Kyles, 514 U.S. at 434. In deciding whether such a reasonable

probability exists, a district court should consider the impact of the suppressed

evidence collectively, rather than on an item-by-item basis. Id. at 436.

      Defendant Sann’s motions seek two categories of information. First, he

wants all FBI or DEA reports or summaries of interviews of any individual who

allegedly participated in the charged conspiracy. The second category consists of

what Defendant Sann claims are 50 boxes of documents seized in an unrelated

criminal investigation. Sann contends the evidence he seeks is exculpatory

because the witnesses and documents likely confirm that he intended only to be

involved in a lawful marijuana dispensary under state law, and that he withdrew

from the venture on June 30, 2011.

      Defendant Sann fails to meet Brady’s materiality requirement because it is

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ultimately irrelevant whether Sann intended to comply with the State of Montana’s

medical marijuana law; such information is not exculpatory. It is also not relevant

whether Defendant Sann withdrew from the conspiracy as he claims on June 30,

2011, because many overt acts in furtherance are alleged occurred before that date.

See United States v. Lothian, 976 F.2d 1257, 1262 (9th Cir. 1992) (“[O]nce an

overt act has taken place to accomplish the unlawful objective of the agreement,

the crime of conspiracy is complete and the defendant is liable despite his later

withdrawal.”). Defendant Sann’s argument is also speculative, as he concedes in

his immunity brief that he “cannot candidly represent to this Court that Counsel is

sure these witnesses will testify favorably” for Sann. Doc. No. 195 at 6.

      As to the dispute regarding boxes of documents seized in an unrelated

investigation, it is clear to the Court that the government has made the contents of

those boxes available for review by defense counsel. Although Sann’s counsel has

complaints about the manner of access, the rules imposed by the FBI regarding

access to the documents do not seem overly burdensome or unreasonable, and the

government is in no better position than Defendant Sann to search the boxes for

information.

      Because Defendant Sann has failed to meet the standard for production

under Brady and its progeny, the motions for production are denied.

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E.    Defendant Sann’s motion for immunity for defense witnesses or to
      dismiss if immunity if not granted, and motion in limine to exclude the
      testimony of immunized witnesses (Doc. Nos. 194, 263)

      Defendant Sann seeks immunity for those of his defense witnesses that he

expects will invoke their Fifth Amendment right against self-incrimination and

refuse to testify at trial. Sann argues it is unfair for the government to be

permitted to present the testimony of immunized witnesses at trial while Sann is

denied immunity for the witnesses he intends to call.

      The United States has the authority to grant use immunity in order to secure

a witness’s testimony before a court or grand jury under 18 U.S.C. §§ 6002-6003.

Prosecutors may also enter into informal immunity agreements for statements

made in a witness interview. Plummer, 941 F.2d at 803. Witness immunity is

generally not a two-way street in the criminal context. “The Fifth Amendment

does not create a general right for a defendant to demand use immunity for a

co-defendant, and the courts must be extremely hesitant to intrude on the

Executive's discretion to decide whom to prosecute.” United States v. Straub, 538

F.3d 1147, 1166 (9th Cir. 2008). Nonetheless, in narrow instances a defendant

may compel use immunity upon a showing that: (1) the defense witness’s

testimony was relevant; and (2) either

      (a) the prosecution intentionally caused the defense witness to invoke

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      the Fifth Amendment right against self-incrimination with the
      purpose of distorting the fact-finding process; or (b) the prosecution
      granted immunity to a government witness in order to obtain that
      witness’s testimony, but denied immunity to a defense witness whose
      testimony would have directly contradicted that of the government
      witness, with the effect of so distorting the fact-finding process that
      the defendant was denied his due process right to a fundamentally fair
      trial.

Id. at 1162.

      If a Fifth Amendment violation is found the remedy is not dismissal; the

government must either grant immunity to the defense witness or proceed without

its immunized witness. Straub, 583 F.3d at 1161.

      Defendant’s Sann’s motion for immunity fails for the simple reason that he

concedes he cannot satisfy the Straub test. Defendant Sann has not shown that he

will call witnesses to testify contrary to the government’s witnesses, as he admits

he does not know what the prosecution’s witnesses will say. In fact he has not

established that the prosecution will call an immunized witness, making the

motion premature under Straub. Defendant Sann also fails to show that the

defense witnesses’ testimony will be relevant. In fact, it appears the sole reason

Sann hopes to call the witnesses is to establish that he did not agree to any activity

outside of what was permissible under state law. That point is irrelevant to the

question of guilt or innocence at trial in this federal criminal case. Even if the



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Court were to find a Fifth Amendment violation here, the government’s refusal to

grant immunity to Sann’s witnesses would not warrant dismissal, but instead

would require the government to choose between granting immunity to Sann’s

witnesses or proceeding without its immunized witnesses.

      Defendant Sann has failed to justify intrusion by this Court into the

government’s zone of discretion with regard to witness immunity under the

standard set out in Straub. The motion for immunity for defense witnesses is

denied, as are the related motions to dismiss and to exclude immunized testimony

of government witnesses. These motions are subject to renewal at trial upon a

showing that compelled immunity for defenses witnesses is warranted under

Straub.

F.    Motions in limine regarding evidence of Montana's medical marijuana
      law, compliance with that law, and the defense of mistake of law (Doc.
      Nos. 173, 177, 205, and 270)

      The United States has filed a motion in limine seeking to preclude the

Defendants from introducing evidence of Montana’s medical marijuana program

for the purpose of establishing the defenses of medical necessity, mistake of law,

advice of counsel, or estoppel. Defendant Fleming has filed a motion in limine

seeking a pretrial ruling that she be allowed to present facts supporting a mistake

of law defense at trial. Defendant Sann has filed a similar motion in limine

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seeking an advance ruling of the admissibility of facts in support a defense that he

withdrew from the conspiracy.

      Permitting the government to prosecute the case without any mention of

medical marijuana would create an artificial and confusing picture for the jury.

Given the factual context in which these allegations arise, it is unreasonable to

expect that the evidence can be presented at trial without the occasional reference

to facts associated with the medical marijuana trade such as caregivers,

cardholders, patients, storefronts, grow operations, business documents, etc. The

Court will not impose an absolute prohibition on such references where they arise

in the context of the evidence. However, as Defendants are charged with a federal

crime, evidence concerning the Montana Medical Marijuana Act, any compliance

with state law, or any beliefs about the legality of medical marijuana under state

law is irrelevant under Fed. R. Evid. 403. If non-legal medical marijuana evidence

about the offense conduct or investigation would be helpful to the jury, is relevant,

does not violate Rule 403 or any other rule of evidence, and is admitted for some

reason other than establishing a defense precluded by this order, it is admissible.

Any questions regarding what evidence is permissible should be raised with the

Court outside the presence of the jury.

      Defendant Fleming’s motion to allow facts supporting a mistake of law

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defense is denied. The conspiracy charge in Count I requires only that the

Defendants knew they were conspiring to manufacture and distribute marijuana.

21 U.S.C. §§ 841(a)(1) and 846; United States v. Rosenthal, 334 Fed.Appx. 841,

842-43 (9th Cir. 2009). The government need not prove knowledge of illegality or

intent to violate the law. Bryan v. United States, 524 U.S. 184, 192 (1998) (“[T]he

term ‘knowingly” does not necessarily have any reference to a culpable state of

mind or to knowledge of the law.”).

      Defendant Sann’s motion to allow evidence of his withdrawal from the

conspiracy is also denied. Defendant Sann has not established a prima face case

of withdrawal as required by Lothian, 976 F.2d at 1261-62, because he does not

dispute the many overt acts that allegedly occurred prior to June 30, 2011.

G.    Defendant Sann’s motion to sever (Doc. No. 161)

      The public has a substantial interest in the joint trial of defendants jointly

charged under Rule 8(b) of the Federal Rules of Criminal Procedure. United

States v. Camacho, 528 F.2d 464, 470 (9th Cir. 1976). The public interest favors

joint trials because they “conserve state funds, diminish inconvenience to

witnesses and public authorities, and avoid delays in bringing those accused of

crime to trial.” On the other hand, Rule 14(a), Fed. R. Crim. P. states, “If the

joinder of offenses or defendants in an indictment, an information, or a

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consolidation for trial appears to prejudice a defendant or the government, the

court may order separate trials of counts, sever the defendants’s trials, or provide

any other relief that justice requires.”

      A trial judge has wide discretion in deciding a motion to sever, and such

decisions will seldom be disturbed on appeal. United States v. Ponce, 51 F.3d

820, 831 (9th Cir. 1995). The Ninth Circuit has characterized the scope of review

as “extremely narrow,” see United States v. Mariscal, 939 F.2d 884, 886 (9th Cir.

1991), and quoted with approval a Second Circuit decision calling a district

court’s severance ruling “virtually unreviewable.” United States v. Baker, 10 F.3d

1374, 1387 (9th Cir. 1993) (quoting United States v. Stirling, 571 F.2d 708, 733

(2d Cir. 1978)). It is not enough for a defendant to show that he would stand a

better chance of acquittal in a separate trial. Zafiro v. United States, 506 U.S. 534,

540 (1993). Severance should be granted where joinder is “so manifestly

prejudicial that it outweighs the dominant concern with judicial economy[.]”

United States v. Doe, 655 F.2d 920, 926 (9th Cir. 1980) (quoting United States v.

Brashier, 548 F.2d 1315, 1323 (9th Cir. 1976)). The Supreme Court has held

severance should be limited to those instances in which “there is a serious risk that

a joint trial would compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or innocence.”

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Zafiro, 506 U.S. at 539.

      The Ninth Circuit has identified the following factors as among those to be

considered in evaluating the prejudicial effect of joinder:

      (1)    whether the jury may reasonably be expected to collate and
             appraise the individual evidence against each defendant;

      (2)    the judge’s diligence in instructing the jury on the limited
             purposes for which certain evidence may be used;

      (3)    whether the nature of the evidence and the legal concepts
             involved are within the competence of the ordinary juror; and

      (4)    whether [the defendant can] show, with some particularity, a
             risk that the joint trial would compromise a specific trial right
             of one of the defendants, or prevent the jury from making a
             reliable judgment about guilt or innocence.

United States v. Fernandez, 388 F.3d 1199, 1241 (9th Cir. 2004). The first two

factors bear particular emphasis in the severance inquiry. Id. “The judge’s

diligence in instructing the limited purposes for which various evidence may be

used is a ‘critical factor’ in assessing the jury’s ability to compartmentalize the

evidence against each defendant.” Baker, 10 F.3d at 1387 (quoting United States

v. Cuozzo, 962 F.2d 945, 949 (9th Cir. 1992)). Careful and frequent cautionary

instructions can reduce or eliminate any prejudice which might otherwise result

from a joint trial. United States v. Castro, 887 F.2d 988, 998 (9th Cir. 1989);

Fernandez, 388 F.3d at 1243.

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      Upon careful consideration, the Court finds that severance of Defendant

Sann’s trial from that of his remaining co-defendants is warranted in this instance,

but not for the reasons advanced by Defendant Sann at the time of the hearing on

August 7. Instead, the Court finds that Defendant Sann has presented a significant

amount of evidence tending to show that his involvement in the charged

conspiracy was limited in time and in scope to what Sann believed was a lawful

medical marijuana dispensary under Montana law. Nothing in the affidavits filed

in support of the wiretap applications contradicts Sann’s characterization of his

involvement. And while it remains irrelevant whether the medical marijuana

venture was in fact in compliance with state law, and it is no defense that Sann

withdrew from the venture on June 30, 2011, it is undeniably harmful to Sann’s

interests for him to stand trial alongside his co-defendant Washington, against

whom there is considerably more prejudicial evidence. The record at this stage

indicates that the evidence against Defendant Washington may include, among

other things, possession of firearms, high-volume black market drug transactions,

and discussions about how best to bribe public officials to protect the venture,

nearly all of which occurred after Defendant Sann claims to have sold his interest

in the venture.

      The Court could of course instruct the jury not to consider such evidence

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against Defendant Sann, but such instructions would not, in the Court’s view, be

sufficient to entirely cure the taint in this instance. Defendant Sann has presented

facts sufficient to support his defense theory that he is a businessman who agreed

to become a passive investor in an open and obvious medical marijuana business

venture, not a criminal drug dealer. It is far from clear whether that defense will

succeed at trial in light of the rulings herein, but Defendant Sann is entitled to

make the attempt. In presenting evidence in support of his defense, Defendant

Sann will be constrained by the rulings of the Court, and will be walking a

carefully scrutinized evidentiary tightrope in this effort. Nevertheless, Defendant

Sann’s right to a fair trial will be dramatically compromised if he is forced to

present his case while overcoming the evidence of much more serious criminal

conduct against Defendant Washington. The Supreme Court observed in Zafiro

that severance is appropriate

      when evidence that the jury should not consider against a defendant
      and that would not be admissible if a defendant were tried alone is
      admitted against a codefendant. For example, evidence of a
      codefendant’s wrongdoing in some circumstances erroneously could
      lead a jury to conclude that a defendant was guilty. When many
      defendants are tried together in a complex case and they have
      markedly different degrees of culpability, this risk of prejudice is
      heightened.

506 U.S. at 539.



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       Defendant Sann faces such a risk is in this case, and for that reason his

motion to sever is granted.7 Defendant Sann will proceed to trial as scheduled on

October 1, 2012. The trial of Defendants Washington and Fleming will be vacated

and reset for a later date.

H.     Motions in limine (Doc. Nos. 245, 247, 249, 251, 253, 256, 259, 261, 265,
       and 340)

       Defendant Sann has filed several motions in limine. The motions seek

nothing more than a generalized restatement of already applicable rules of

evidence in a number of areas. In the absence of a request to exclude specific

evidence or testimony, the motions are denied, subject to renewal at trial, when the

request can be evaluated in the context of the proof at trial.

       Defendant Fleming has filed a motion in limine seeking to exclude the

government’s evidence against her derived from electronic surveillance based on

Fleming’s argument that the activity captured on the wiretap does not relate to the

charged conspiracy. She requests that the evidence be excluded under Fed. R.

Evid. 404(b). Whether Defendant Fleming’s conduct relates to the charged

conspiracy is a question that cannot be answered until the Court has an

opportunity to hear the proof at trial. If Fleming is correct and the government’s


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       In light of this ruling, Defendant Sann’s motion in limine to exclude evidence of
uncharged conduct (Doc. No. 175) is denied as moot.

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evidence against her shows innocent conduct unrelated to the charges, the proper

basis for exclusion is not Rule 404(b), but rather Rules 401 and 402. The

government is aware of its obligations under Rule 404(b)(2), see Doc. No. 208,

and the Court will enforce the Rules of Evidence at trial. Defendant Fleming’s

motion is denied, subject to renewal at trial.

                                  IV. Conclusion

      These rulings are consistent with those of other courts who have considered

and struggled with these same issues. The Court fully understands that this

consistency will be of little solace to the Defendants in this case and will not

obviate the unfairness they feel regarding the current posture of the law.

However, marijuana remains illegal under federal law. The arguments advanced

by the Defendants are currently foreclosed by precedent of the Supreme Court and

the Ninth Circuit Court of Appeals which binds this Court and constrains its

discretion.

                                      V. Order

      Based on the foregoing, IT IS HEREBY ORDERED

1.    Defendant Fleming’s motion for revelation and production of confidential

      source (Doc. No. 139) is DENIED. The government shall reveal the

      informant’s identity, along with any potential impeachment information, on

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     or before September 14, 2012.

2.   Defendant Fleming’s motion to dismiss the Indictment as barred by the

     Tenth Amendment (Doc. No. 150) is DENIED.

3.   Defendant Fleming’s motion to dismiss the Indictment for violation of her

     Fifth Amendment rights (Doc. No. 152) is DENIED.

4.   Defendant Fleming’s motion to suppress (Doc. No. 153) is DENIED.

5.   Defendant Sann’s motion to dismiss the Indictment based on promissory

     estoppel (Doc. No. 154) is DENIED.

6.   Defendant Sann’s motion to dismiss the Indictment based on judicial

     estoppel (Doc. No. 155) is DENIED.

7.   Defendant Sann’s motion to dismiss the Indictment based on estoppel by

     official misleading (Doc. No. 156) is DENIED. Defendants will have the

     opportunity at trial to present evidence in support of a defense of estoppel

     by official misleading only as it relates to their interactions with Officer

     Arlen Auld.

8.   Defendant Sann’s motion to order the government to inspect its files for

     Brady information (Doc. No. 157) is DENIED.

9.   Defendant Sann’s motion to order the government to give notice of and

     make available for copying Brady information (Doc. No. 160) is DENIED.

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10.   Defendant Sann’s motion to sever (Doc. No. 161) is GRANTED.

      Defendant Sann will proceed to trial as scheduled on October 1, 2012.

11.   Defendant Sann’s motion in limine to allow offer of evidence of compliance

      with state law to support defense of withdrawal from conspiracy (Doc. No.

      173) is DENIED.

12.   Defendant Sann’s motion in limine to exclude evidence of uncharged

      conduct (Doc. No. 175) is DENIED.

13.   Defendant Sann’s motion in limine to allow evidence of compliance with

      state law as support of defense of scope of culpability (Doc. No. 177) is

      DENIED.

14.   Defendant Washington’s motion to suppress (Doc. No. 180) is DENIED.

15.   Defendant Washington’s motion to dismiss based on entrapment by estoppel

      or estoppel by official misleading statement (Doc. No. 182) is DENIED.

      Defendants will have the opportunity at trial to present evidence in support

      of a defense of estoppel by official misleading only as it relates to their

      interactions with Officer Arlen Auld.

16.   Defendant Sann’s motion for immunity for defense witnesses, or to dismiss

      if immunity is not granted (Doc. No. 194) is DENIED, subject to renewal at

      trial.

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17.   The government’s motion in limine regarding medical marijuana issues

      (Doc. No. 205) is GRANTED in part and DENIED in part as set forth

      herein.

18.   Defendant Sann’s motions in limine (Doc. Nos. 245, 247, 249, 251, 253,

      256, 259, 261, 263, and 265) are DENIED, subject to renewal at trial.

19.   Defendant Fleming’s motion to allow evidence in support of a mistake of

      law defense (Doc. No. 270) is DENIED.

20.   Defendant Fleming’s motion to exclude Rule 404(b) evidence (Doc. No.

      340) is DENIED, subject to renewal at trial.

      IT IS FURTHER ORDERED that the trial setting for Defendants

Washington and Fleming is VACATED, to be reset by subsequent order. All

other dates in the pretrial schedule remain in effect as to those Defendants.

      IT IS FURTHER ORDERED that Defendant Sann’s motion to seal the

proffers of testimony for the defense witnesses who asserted their Fifth

Amendment right not to testify at the hearing (Doc. No. 335) is DENIED.

      Dated this 22nd day of August, 2012.




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